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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO.


  MARIA O. ESTEVEZ,
  a Florida resident and citizen,

         Plaintiff,

  v.

  MSC CRUISES (USA) INC.,

        Defendant.
  ______________________________________/


                              COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, the Plaintiff, MARIA O. ESTEVEZ, by and through undersigned

  counsel, files this Complaint against Defendant MSC CRUISES (USA) INC., a corporation with

  its principal place of business in Florida, and alleges:

                 PRELIMINARY ALLEGATIONS INCORPORATED
       BY REFERENCE INTO ALL COUNTS - JURISDICTION, VENUE AND PARTIES


         1.        This is an action for damages in an amount exceeding seventy-five thousand

  dollars ($75,000.00) exclusive of interest and costs. The damages alleged in Paragraphs 11 and

  14, including a patellar fracture, support a claim of over $75,000.00 in damages.

         2.        The Plaintiff is sui juris and is a resident and citizen of Miami-Dade County,

  Florida.

         3.        The Defendant MSC CRUISES (USA) INC. is a foreign corporation with its

  principal place of business in Ft. Lauderdale, Broward County, Florida.                             For federal

  jurisdictional purposes, MSC CRUISES (USA) INC. is a citizen of Florida.


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          4.         This court has subject matter jurisdiction in admiralty pursuant to Title 28,

  Section 1333, United States Code, and Rule 9 (h) of the Federal Rules of Civil Procedure.

          5.         At all material times, the Defendant has had its principal place of business in

  Florida and has conducted ongoing substantial and not isolated business activities in Miami-

  Dade County, Florida, such as operating maritime cruise vessels for paying passengers, including

  the Plaintiff, so that in personam jurisdiction exists in the United States District Court for the

  Southern District of Florida.

          6.         At all material times, the Defendant has engaged in the business of operating

  maritime cruise vessels for paying passengers, including the Plaintiff.

          7.         In the operative ticket contract, the Defendant requires fare paying passengers

  such as the Plaintiff, to bring any lawsuit against it arising out of injuries or events occurring on

  the cruise voyage in this federal judicial district. Thus, venue is proper in this Court.

          8.         Venue is also proper in this district because the Defendant’s principal place of

  business is located within this district.

          9.         The Plaintiff has complied with all conditions precedent to bringing this action.

  The Plaintiff reported the accident to the ship's medical crew shortly after it occurred, and written

  medical records were prepared onboard the ship. Furthermore, the Plaintiff gave the Defendant

  by letter a timely written notice of claim, as required by the ticket contract.

                PRELIMINARY ALLEGATIONS INCORPORATED
       BY REFERENCE INTO ALL COUNTS - FALL AND RESULTING DAMAGES

          10.        At all material times, including the accident date of June 21, 2018, the Plaintiff

  was a fare paying passenger of the Defendant and was lawfully present aboard the M/S

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  “SEASIDE”, a passenger vessel.

         11.        On June 21, 2018, while the Plaintiff was on board the M/S SEASIDE as a fare

  paying passenger, while walking to the Ipanema Restaurant of Deck 6 for dinner, she tripped and

  fell on a hidden change of elevation on the floor, sustaining serious injuries, including internal

  derangement of the right shoulder.

         12.        The area in which the Plaintiff fell sustained high passenger traffic.

         13.        In the exercise of reasonable care, the Defendant should have known of the high

  passenger traffic volume in the area where the Plaintiff fell and knew or should have known of

  the dangerous condition to passengers walking in the area, including Plaintiff.

         14.        As a direct and proximate result of the fall described in Paragraph 11 above, the

  Plaintiff was injured in and about her body and extremities, sustaining injuries including internal

  derangement of the right shoulder, suffered pain therefrom, sustained mental anguish,

  disfigurement, disability and the inability to lead a normal life. Furthermore, she incurred

  medical, hospital, and other out of pocket and health care expenses in the past and future as a

  result of her injuries. The Plaintiff also suffered a loss of earnings in the past and will suffer a

  loss of earnings capacity in the future. These damages are permanent or continuing in their

  nature and the Plaintiff will continue to sustain and incur these damages in the future.

                                                          COUNT I

         15.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary

  allegations in Paragraphs 1 through 14 above and further alleges the following matters.

         16.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the


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  Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

  for her safety.

          17.        At all material times, the Defendant's duty of reasonable care included vicarious

  liability for negligent acts or omissions of Defendant's crew while acting in the course of their

  duties as crew and in furtherance of the vessel's business.

          18.        At all material times, the Defendant's crewmembers responsible for the

  maintenance of the area where Plaintiff fell were acting in the course of their duties as crew and

  in furtherance of the vessel's business.

          19.        At all material times, the Defendant's duty of reasonable care included a duty to

  correct hazards to passengers of which its crew, acting in the course of their duties as crew and in

  furtherance of the vessel's business, had constructive notice.

          20.        At all material times, the floor/deck area on Deck 6 of the vessel was in a

  condition hazardous to passengers traversing the area, due to the presence of a hidden change of

  elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

  passengers tripping and falling as the Plaintiff did.

          21.        The hazardous condition described in the preceding paragraph had existed for a

  sufficient length of time that the Defendant's crewmembers should have detected the hazard and

  corrected it by cordoning off the area near the elevators before the Plaintiff fell.

          22.        Notwithstanding their constructive notice of the trip and fall hazard as described

  in the preceding paragraph, the Defendant's crewmembers failed to correct the hazard by

  cordoning off the floor/deck area on Deck 6 before the Plaintiff fell and thereby failed to exercise


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  reasonable care and were negligent.

          23.        As a direct and proximate result of the negligence of Defendant's crewmembers

  described in the preceding paragraph, for which the Defendant is vicariously liable as alleged in

  Paragraph 17 above, the Plaintiff has sustained and will continue in the future to sustain the

  damages described in Paragraph 14 above.

      WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

  damages and the cost of this action.


                                                          COUNT II

          24.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary

  allegations in Paragraphs 1 through 14 above and further alleges the following matters.

          25.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the

  Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

  for her safety.

          26.        At all material times, the Defendant's duty of reasonable care included vicarious

  liability for negligent acts or omissions of Defendant's crew while acting in the course of their

  duties as crew and in furtherance of the vessel's business.

          27.        At all material times, the Defendant's crewmembers responsible for the

  maintenance of the area where Plaintiff fell were acting in the course of their duties as crew and

  in furtherance of the vessel's business.

          28.        At all material times, the Defendant's duty of reasonable care included a duty to

  correct hazards to passengers of which its crew, acting in the course of their duties as crew and in

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  furtherance of the vessel's business, had constructive notice.

         29.        At all material times, the floor/deck area on Deck 6 of the vessel was in a

  condition hazardous to passengers traversing the area, due to the presence of a hidden change of

  elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

  passengers tripping and falling as the Plaintiff did.

         30.        The hazardous condition described in the preceding paragraph recurred so

  frequently and regularly before the date of the Plaintiff's fall that the Defendant's crewmembers

  should have anticipated the recurrence of the hazard and corrected it by cordoning off the

  floor/deck area on Deck 6 before the Plaintiff fell.

         31.        Notwithstanding their constructive notice of the trip and fall hazard as described

  in the preceding paragraph, the Defendant's crewmembers failed to correct the hazard by

  cordoning off the floor/deck area on Deck 6 before the Plaintiff fell and thereby failed to exercise

  reasonable care and were negligent.

         32.        As a direct and proximate result of the negligence of Defendant's crewmembers

  described in the preceding paragraph, for which the Defendant is vicariously liable as alleged in

  Paragraph 26 above, the Plaintiff has sustained and will continue in the future to sustain the

  damages described in Paragraph 14 above.

         WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

  damages and the cost of this action.

                                                        COUNT III

         33.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary


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  allegations in Paragraphs 1 through 14 above and further alleges the following matters.

          34.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the

  Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

  for her safety.

          35.        At all material times, the Defendant's duty of reasonable care included vicarious

  liability for negligent acts or omissions of Defendant's crew while acting in the course of their

  duties as crew and in furtherance of the vessel's business.

          36.        At all material times, the Defendant's crewmembers responsible for the

  maintenance of the floor/deck area on Deck 6 were acting in the course of their duties as crew

  and in furtherance of the vessel's business.

          37.        At all material times, the Defendant's duty of reasonable care included a duty to

  correct hazards to passengers of which its crew, acting in the course of their duties as crew and in

  furtherance of the vessel's business, had actual notice.

          38.        At all material times, the floor/deck area on Deck 6 of the vessel was in a

  condition hazardous to passengers traversing the area, due to the presence of a hidden change of

  elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

  passengers tripping and falling as the Plaintiff did.

          39.        At all material times, the Defendant's crewmembers had actual notice of the

  hazardous condition described in the preceding paragraph.

          40.        Notwithstanding their actual notice of the trip and fall hazard as described in the

  preceding paragraph, the Defendant's crewmembers failed to correct the hazard by cordoning off


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  the floor/deck area on Deck 6 before the Plaintiff fell and thereby failed to exercise reasonable

  care and were negligent.

          41.        As a direct and proximate result of the negligence of Defendant's crewmembers

  described in the preceding paragraph, for which the Defendant is vicariously liable as alleged in

  Paragraph 35 above, the Plaintiff has sustained and will continue in the future to sustain the

  damages described in Paragraph 14 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

  damages and the cost of this action.

                                                          COUNT IV

          42.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary

  allegations in Paragraphs 1 through 14 above and further alleges the following matters.

          43.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the

  Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

  for her safety.

          44.        At all material times, the Defendant's duty of reasonable care included vicarious

  liability for negligent acts or omissions of Defendant's crew while acting in the course of their

  duties as crew and in furtherance of the vessel's business.

          45.        At all material times, the Defendant's crewmembers responsible for the

  maintenance of the floor/deck area on Deck 6 were acting in the course of their duties as crew

  and in furtherance of the vessel's business.

          46.        At all material times, the Defendant's duty of reasonable care included a duty to


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  warn passengers of hazards of which its crew, acting in the course of their duties as crew and in

  furtherance of the vessel's business, had constructive notice.

         47.        At all material times, the floor/deck area on Deck 6 of the vessel was in a

  condition hazardous to passengers traversing the area, due to the presence of a hidden change of

  elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

  passengers tripping and falling as the Plaintiff did.

         48.        The hazardous condition described in the preceding paragraph had existed for a

  sufficient length of time that the Defendant's crewmembers should have detected the hazard and

  warned passengers of it before the Plaintiff fell.

         49.        Notwithstanding their constructive notice of the trip and fall hazard as described

  in the preceding paragraph, the Defendant's crewmembers failed to warn passengers of the before

  the Plaintiff fell and thereby failed to exercise reasonable care and were negligent.

         50.        As a direct and proximate result of the negligence of Defendant's crewmembers

  described in the preceding paragraph, for which the Defendant is vicariously liable as alleged in

  Paragraph 44 above, the Plaintiff has sustained and will continue in the future to sustain the

  damages described in Paragraph 14 above.

         WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

  damages and the cost of this action.

                                                         COUNT V

         51.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary

  allegations in Paragraphs 1 through 14 above and further alleges the following matters.


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           52.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the

   Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

   for her safety.

           53.        At all material times, the Defendant's duty of reasonable care included vicarious

   liability for negligent acts or omissions of Defendant's crew while acting in the course of their

   duties as crew and in furtherance of the vessel's business.

           54.        At all material times, the Defendant's crewmembers responsible for the

   maintenance of the floor/deck area on Deck 6 were acting in the course of their duties as crew

   and in furtherance of the vessel's business.

           55.        At all material times, the Defendant's duty of reasonable care included a duty to

   warn passengers of hazards of which its crew, acting in the course of their duties as crew and in

   furtherance of the vessel's business, had actual notice.

           56.        At all material times, the floor/deck area on Deck 6 of the vessel was in a

   condition hazardous to passengers traversing the area, due to the presence of a hidden change of

   elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

   passengers tripping and falling as the Plaintiff did.

           57.        At all material times, the Defendant's crewmembers had actual notice of the

   hazardous condition described in the preceding paragraph.

           58.        Notwithstanding their actual notice of the trip and fall hazard as described in the

   preceding paragraph, the Defendant's crewmembers failed to warn passengers of it before the

   Plaintiff fell and thereby failed to exercise reasonable care and were negligent.


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            59.        As a direct and proximate result of the negligence of Defendant's crewmembers

   described in the preceding paragraph, for which the Defendant is vicariously liable as alleged in

   Paragraph 62 above, the Plaintiff has sustained and will continue in the future to sustain the

   damages described in Paragraph 14 above.

            WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

   damages and the cost of this action.

                                                           COUNT VII

            60.        The Plaintiff adopts, realleges and incorporates by reference all of the preliminary

   allegations in Paragraphs 1 through 14 above and further alleges the following matters.

            61.        At all material times, the Defendant, as operator of the M/S SEASIDE owed the

   Plaintiff, as a fare paying passenger lawfully on board the cruise vessel, a duty of reasonable care

   for her safety.

            62.        At all material times, the Defendant's direct duty of reasonable care to its

   passengers included a duty to adopt and implement policies providing for adequate inspection

   and maintenance of the Defendant's vessel; adequate inspection and maintenance policies being

   policies that would lead to timely detection and correction or warning of trip and fall hazards.

            63.        At all material times, the Defendant failed to adopt, implement and enforce

   adequate inspection and maintenance policies for the floor/deck area on Deck 6 of the vessel and

   its surrounding area, which was subject to high passenger traffic as alleged in Paragraph 12

   above.

            64.        At all material times, the floor/deck area on Deck 6 of the vessel was in a


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   condition hazardous to passengers traversing the area, due to the presence of a hidden change of

   elevation causing the floor/deck surface to be a tripping hazard and thereby creating a risk of

   passengers tripping and falling as the Plaintiff did.

          65.        At all material times, due to the absence of adequately promulgated, implemented

   and enforced policies regarding inspection and maintenance, the Defendant did not know of the

   hazardous condition described in the preceding paragraph, but should in the exercise of

   reasonable care have known about it. The Defendant therefore had constructive notice of the

   hazardous condition.

          66.        At all material times, due to the absence of adequately promulgated, implemented

   and enforced policies regarding inspection and maintenance, the Defendant did not know of the

   hazardous condition described in Paragraph 73 above, and therefore did not correct or warn of it

   before the Plaintiff tripped and fell. The Defendant was thereby negligent.

          67.        As a direct and proximate result of the Defendant's negligence described in the

   preceding paragraph, the Plaintiff has sustained and will continue in the future to sustain the

   damages described in Paragraph 14 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant for compensatory

   damages and the cost of this action.

                                             DEMAND FOR JURY TRIAL

          The Plaintiff hereby demands trial by jury of all issues so triable as of right.

          Executed this 12th day of July, 2019.




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